
726 S.E.2d 176 (2012)
STATE
v.
Tony Savalis SUMMERS.
No. 328A11-1.
Supreme Court of North Carolina.
June 7, 2012.
Shelagh R. Kenney, Durham, for Summers, Tony Savalis.
Steven Cole, Assistant District Attorney, for State of N.C.
Robert C. Montgomery, Special Deputy Attorney General, for State of N.C.
J. Douglas Henderson, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 6th of June 2012 by Defendant for Extension of Time to Prepare Trial Transcript:
"Motion Allowed by order of the Court in conference, this the 7th of June 2012."
